                                 Case your
     Fill in this information to identify 23-11183-MAM
                                             case:                   Doc 1        Filed 02/14/23           Page 1 of 49
     United States Bankruptcy Court for the:

     ____________________
     Southern              District of _________________
              District of Florida      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔   Chapter 11
                                                               Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        NS  FOA LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          d/b/a Florida Shrimp Company
                                           ______________________________________________________________________________________________________
      in the last 8 years                  d/b/a Pristine Water Aquaculture
                                           ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               15369 County Road 512                                    _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Fellsmere                     FL    32948
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Indian River County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.flshrimp.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                                 Case 23-11183-MAM                  Doc 1      Filed 02/14/23             Page 2 of 49

                NS FOA LLC
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            0273
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       
                                                       ✔   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
                               Case 23-11183-MAM                        Doc 1        Filed 02/14/23           Page 3 of 49

              NS FOA LLC
Debtor        _______________________________________________________                              Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have            No
      possession of any real                
                                            ✔ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      ✔
                                                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                                Mosquito control
                                                           What is the hazard? _____________________________________________________________________

                                                          It needs to be physically secured or protected from the weather.

                                                          It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                          Other _______________________________________________________________________________



                                                                             15369 County Road 512
                                                      Where is the property?_____________________________________________________________________
                                                                                   Number        Street

                                                                                   ____________________________________________________________________
                                                                                   Fellsmere
                                                                                   _______________________________________       _______      32948
                                                                                                                                             ________________
                                                                                   City                                          State       ZIP Code


                                                      Is the property insured?
                                                          No
                                                          Yes. Insurance agency ____________________________________________________________________
                                                                                 Signature Insurance Vero Beach - Insurer is Scottsdale Insurance Co.

                                                                Contact name       Stacey Bihl
                                                                                   ____________________________________________________________________

                                                                Phone              772-778-9970
                                                                                   ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                                1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                             5,001-10,000                             50,001-100,000
      creditors
                                             100-199                           10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                        $1,000,001-$10 million
                                                                               ✔
                                                                                                                          $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                  $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                 $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million               $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
                               Case 23-11183-MAM                      Doc 1            Filed 02/14/23       Page 4 of 49

               NS FOA LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              02/14/2023
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Congwei "Allan" Xu
                                               _____________________________________________               Congwei "Allan" Xu
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Managing member
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Aaron A. Wernick
                                               _____________________________________________              Date         02/14/2023
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Aaron A. Wernick
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Wernick Law, PLLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                2255 Glades Road Suite 324A
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Boca Raton
                                               ____________________________________________________             FL            33431
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                561-961-0922
                                               ____________________________________                              awernick@wernicklaw.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                14059                                                           FL
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
                                             Case 23-11183-MAM                                       Doc 1               Filed 02/14/23                         Page 5 of 49


 Fill in this information to identify the case:

                NS FOA LLC
  Debtor name _________________________________________________________________

                                          Southern District of Florida
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       1,180,942.52
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         1,180,942.52
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          240,414.32
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          691,435.69



4. Total liabilities ...........................................................................................................................................................................          931,850.01
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                                         Case 23-11183-MAM             Doc 1       Filed 02/14/23           Page 6 of 49

      Fill in this information to identify the case:

                    NS FOA LLC
      Debtor name __________________________________________________________________

                                              Southern District of Florida
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                           Check if this is an
      Case number (If known):     _________________________                                                                                    amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code         and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Helen Ming c/o Michael Tessitore, Esq.                                Alleged counterclaim    Disputed
1    111 N Orange Ave                                                                              Unliquidated
     Ste 900
                                                                                                                                                        673,000.00
     Orlando, FL, 32801-2307


     PNC Bank                                                              Credit Card Debt
2    PO Box 3429
     Pittsburgh, PA, 15230-3429
                                                                                                                                                        11,846.12


     Bank of America                                                       Credit Card Debt
3    PO Box 660441
     Dallas, TX, 75266-0441
                                                                                                                                                        5,995.89


     PNC Bank                                                              Credit Card Debt
4    PO Box 3429
     Pittsburgh, PA, 15230-3429                                                                                                                         593.68


     Ocean Sparkle LLC c/o Yanping Ming                                    Alleged counterclaim    Disputed
5    2900 S Harbor City Blvd                                                                       Unliquidated
     Melbourne, FL, 32901                                                                                                                               0.00


     Fellsmere Joint Venture LLC                                           Alleged breach of       Disputed
6    c/o Richard M. Carnell, Jr., Esq.                                     contract                Unliquidated
     1900 Old Dixie Highway                                                                                                                             0.00
     Fort Pierce, FL, 34946


     City of Fellsmere                                                     Other
7    Clerk of Code Enforcement
     21 S. Cypress St.                                                                                                                                  0.00
     Fellsmere, FL, 32948-1701

     State of Florida Dept. of Agriculture and                             Other
8    Consumer Services
     Division of Aquaculture                                                                                                                            0.00
     600 S. Calhoun St., Ste 217
     Tallahassee, FL, 32399




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 1
                                     Case 23-11183-MAM               Doc 1        Filed 02/14/23            Page 7 of 49

                    NS FOA LLC
    Debtor         _______________________________________________________                        Case number (if known)_____________________________________
                   Name




     Name of creditor and complete             Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,   total claim amount and deduction for value of
                                                                            services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Indian River Mosquito Control District                               Other
9    5655 41st St
     Vero Beach, FL, 32967                                                                                                                               0.00


     FL Dept of EPA                                                       Other
10 Southeast District Office
     3301 Gun Club Rd, MSC 7210-1                                                                                                                        0.00
     West Palm Beach, FL, 33406


     Florida Department of Revenue                                        Taxes & Other
11 5050 West Tennessee Street                                             Government Units
     Tallahassee, FL, 32399                                                                                                                              0.00


     Indian River County Tax Collector                                    Taxes & Other
12 c/o Carole Jean Jordan, Tax Collector                                  Government Units
     PO Box 1509                                                                                                                                         0.00
     Vero Beach, FL, 32961-1509


     Internal Revenue Service                                             Taxes & Other
13 P.O. Box 7346
                                                                          Government Units
     Philadelphia, PA, 19101-7346                                                                                                                        0.00



14




15




16




17




18




19




20




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
                                   Case 23-11183-MAM               Doc 1          Filed 02/14/23         Page 8 of 49
  Fill in this information to identify the case:

               NS FOA LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of Florida
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Bank of America [acct ending 7311]
    3.1. _________________________________________________  Checking
                                                           ______________________              7
                                                                                               ____    3
                                                                                                      ____    1
                                                                                                             ____   1
                                                                                                                    ____         $______________________
                                                                                                                                   31,101.19
          PNC Bank [acct ending 5387]
    3.2. _________________________________________________  Checking
                                                           ______________________              5
                                                                                               ____    3
                                                                                                      ____    8
                                                                                                             ____   7
                                                                                                                    ____           150,609.33
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 181,710.52
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
                                  Case 23-11183-MAM                   Doc 1       Filed 02/14/23               Page 9 of 49
Debtor           NS FOA LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     30,000.00
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   30,000.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         20,000.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                   20,000.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 50,000.00
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
                                Case 23-11183-MAM                     Doc 1         Filed 02/14/23             Page 10 of 49
                   NS FOA LLC
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      Yes. Fill in the information below.
      ✔



      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
    See Schedule A/B Part 6, Question 30 Attachment                                                          Fair Market Value          55,650.00
    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
     Live shrimp (80,000 pounds)
    ______________________________________________________________                $________________          $10 per lb
                                                                                                            ____________________       800,000.00
                                                                                                                                     $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 3
                               Case 23-11183-MAM                      Doc 1        Filed 02/14/23         Page 11 of 49
                NS FOA LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.                                                                                                                 855,650.00
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      ✔


      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      ✔


      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     
     ✔ No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     
     ✔ No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
2 Office desks with chairs, 2 filing cabinets
                                                                                  $________________      Fair Market Value
                                                                                                        ____________________        100.00
                                                                                                                                  $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
2 Desktop computers, 2 printers (all-in-one)                                                             Fair Market Value          200.00
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     300.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
                              Case 23-11183-MAM                   Doc 1      Filed 02/14/23         Page 12 of 49
                  NS FOA LLC
 Debtor          _______________________________________________________                   Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2015 Nissan NV Cargo 3500 HD S                                                            Fair Market Value           25,997.00
    47.1___________________________________________________________         $________________      ____________________       $______________________
          2019 Ford Transit 350 HD Van                                                              Fair Market Value           29,689.00
    47.2___________________________________________________________         $________________      ____________________       $______________________
          2019 Chevrolet G3500 Refg Trk                                                             Fair Market Value           37,596.00
    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                            93,282.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔     No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                   NS FOA LLC
                                  Case 23-11183-MAM                      Doc 1       Filed 02/14/23          Page 13 of 49
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Debtor leases business premises located at
55.1
       15369 County Road 512, Fellsmere, FL 32948
                                                                                      0.00                                               0.00
       and leased property as described in Schedule                                  $_______________      ____________________        $_____________________
       G.
55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     0.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
                                                                                                                                          Unknown
    Website domain: www.flshrimp.com
    ______________________________________________________________                   $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                     0.00
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
                                   Case 23-11183-MAM                Doc 1      Filed 02/14/23               Page 14 of 49
Debtor            NS FOA LLC
                 _______________________________________________________                         Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See continuation sheet
    ______________________________________________________________                                                                     Unknown
                                                                                                                                     $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                       0.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
                                     Case 23-11183-MAM                             Doc 1           Filed 02/14/23                 Page 15 of 49
                   NS FOA LLC
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         181,710.52
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         50,000.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         855,650.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         300.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         93,282.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         1,180,942.52                          0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  1,180,942.52                                                                                     1,180,942.52
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
                              Case 23-11183-MAM           Doc 1     Filed 02/14/23           Page 16 of 49
                NS FOA LLC
 Debtor 1                                                       _                 Case number (if known)
               First Name    Middle Name    Last Name



                                                Continuation Sheet for Official Form 206 A/B
74) Causes of action against third parties (whether or not a lawsuit has been filed)

State court                         Fraud, negligence,       0.00                               Unknown
litigation against                  breach of duties,
Yanping Ming aka                    tortious
Helen Ming                          interference,
                                    damages,
                                    declaratory
                                    judgment

Claim for over                      Breach of contract       0.00                               Unknown
$150,000 against                    and refusing to
Fellsmere JV                        release escrowed
                                    funds to reimburse
                                    debtor for
                                    nonmonetary
                                    default
                                    remediations.




Official Form 206 A/B                                        Schedule A/B: Property
              Case 23-11183-MAM   Doc 1   Filed 02/14/23    Page 17 of 49




 Schedule A/B Part 8, Question 50 Attachment
Property Description           Acquired FMV
5-shelf unit                       2015             50.00
Air Conditioner                    2013             50.00
Air Conditioner                    2019             50.00
Chemical containers                2014             50.00
Chest freezer                      2015            100.00
Compressor                         2015         10,000.00
Conveyors                          2013               -
Crates 50 pcs                      2019               -
Filing Cabinets                    2014             50.00
Freezer trailer                    2020          3,000.00
Freezer trailer                    2020          3,000.00
Freezer trailer                    2021          3,000.00
Generator                          2020          5,000.00
Generators Whisperwatt             2014          5,000.00
Heat gun                           2020               -
Incubator                          2014               -
Incubator                          2014               -
Microscope                         2014            200.00
Miscellaneous supplies             2021               -
Motors (70)                        2021               -
Oven Lab Room                      2014               -
Powerstroke                        2015               -
Pressure cleaner                   2020               -
Pressure cleaner                   2020               -
Refrigerator & Cooktop             2013            100.00
Shelter                            2019               -
Sort rite                          2015         20,000.00
Toro Mower                         2020          1,000.00
Uline 5 Step Trailer               2013               -
Uline Pallet Jack                  2013               -
Wacker Plate Compactor             2013               -
Wagons (2)                         2019               -
Whisperwall Diesel Generator       2013          5,000.00
                                                55,650.00
                                      Case 23-11183-MAM                        Doc 1        Filed 02/14/23               Page 18 of 49
  Fill in this information to identify the case:
              NS FOA LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of Florida

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Ally Financial                                              2015 Nissan NV Cargo 3500 HD S
      __________________________________________                                                                                   28,807.83
                                                                                                                                 $__________________          25,997.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      P.O. Box 380902
      ________________________________________________________
      Bloomington, MN 55438-0902
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            12/04/2021
                                     __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   4880
                             _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Ford Credit
                                                                 2019 Ford Transit 350 HD Van                                    $__________________
                                                                                                                                  29,008.71                 $_________________
                                                                                                                                                             29,689.00
      __________________________________________
     Creditor’s mailing address
      P.O. Box 542000
      ________________________________________________________
      Omaha, NE 68154
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
                             04/02/2020
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made
                                                                  _________________________________________________
    number                   6803
                             _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    240,414.32
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          3
                                                                                                                                                              page 1 of ___
                   NS FOA LLC
                                      Case 23-11183-MAM                       Doc 1        Filed 02/14/23               Page 19 of 49
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Mitsubishi HC America Corp.
                                                                2019 Chevrolet G3500 Refg Trk
     __________________________________________                                                                                  32,597.78
                                                                                                                                $__________________      37,596.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     800 Connecticut Avenue 4N
     ________________________________________________________

     Norwalk, CT 06854
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           07/21/2021
                                     __________________         Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                             0001
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                           No
              No. Specify each creditor, including this        
                                                                ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     U.S. Small Business Administration
                                                                All assets of the Debtor
     __________________________________________                                                                                  150,000.00
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


      2 North Street, Suite 320
     ________________________________________________________

      Birmingham, AL 35203
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            06/15/2020
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   7902
                             _________________                   Economic Injury Disaster Loan,
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 2 of ___
                                                                                                                                                                       3
                              Case 23-11183-MAM                     Doc 1        Filed 02/14/23             Page 20 of 49
Debtor
               NS FOA LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Office of Inspector General SBA
     409 3rd St., SW
     Suite 7150                                                                                                        4
                                                                                                               Line 2. __                    _________________
     Washington, DC, 20416-0005
     SBA - Region IV
     233 Peachtree Street NE
     Suite 1800                                                                                                        4
                                                                                                               Line 2. __                    _________________
     Atlanta, GA, 30303-1508
     SBA Office of General Counsel
     409 3rd St., SW
     Washington, DC, 20416-0005                                                                                        4
                                                                                                               Line 2. __                    _________________


     SBA South Florida District
     51 SW 1st Ave #201
     Miami, FL, 33130-1608
                                                                                                                       4
                                                                                                               Line 2. __                    _________________


     Small Bus. Administration
     U.S. Department Treasury Bureau of Fiscal Service
     P.O. Box 830794                                                                                                   4
                                                                                                               Line 2. __                    _________________
     Birmingham, AL, 35283-0794
     U.S. Small Business Administration
     Little Rock Commercial Loan Servicing
     Center 2120 Riverfront Drive, Suite 100                                                                           4
                                                                                                               Line 2. __                    _________________
     Little Rock, AR, 72202



                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      3 of ___
                                                                                                                                                           3
                                  Case 23-11183-MAM                  Doc 1          Filed 02/14/23        Page 21 of 49
   Fill in this information to identify the case:

   Debtor
                    NS FOA LLC
                    __________________________________________________________________

                                           Southern District of Florida
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    City of Fellsmere                                                                                                               $_________________
                                                            Check all that apply.
    Clerk of Code Enforcement                                  Contingent
    21 S. Cypress St.                                          Unliquidated
    Fellsmere, FL, 32948-1701                                  Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Notice purposes only
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 FL Dept of EPA                                          As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                    $_________________
                                                            Check all that apply.
    Southeast District Office
    3301 Gun Club Rd, MSC 7210-1                               Contingent
    West Palm Beach, FL, 33406                                 Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Notice purposes only
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00                      0.00
    Florida Department of Revenue                                                                                                   $_________________
                                                            Check all that apply.
    5050 West Tennessee Street
                                                               Contingent
    Tallahassee, FL, 32399                                     Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    Notice purposes only
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               5
                                                                                                                                         page 1 of ___
                  NS FOA LLC      Case 23-11183-MAM                Doc 1        Filed 02/14/23            Page 22 of 49
  Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                  Name



 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                      0.00                      0.00
                                                                                                        $______________________   $_________________
      Indian River County Tax Collector                 As of the petition filing date, the claim is:
      c/o Carole Jean Jordan, Tax Collector             Check all that apply.
      PO Box 1509                                           Contingent
      Vero Beach, FL, 32961-1509                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:
        Notice purposes only
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  5
2.____ Priority creditor’s name and mailing address                                                      0.00
                                                                                                        $______________________   $_________________
      Indian River Mosquito Control District
                                                        As of the petition filing date, the claim is:
      5655 41st St
                                                        Check all that apply.
      Vero Beach, FL, 32967
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Notice purposes only
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  6
2.____ Priority creditor’s name and mailing address                                                       0.00                      0.00
                                                                                                        $______________________   $_________________
      Internal Revenue Service                          As of the petition filing date, the claim is:
      P.O. Box 7346                                     Check all that apply.
      Philadelphia, PA, 19101-7346                          Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        Notice purposes only
        _________________________________                Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes

  7
2.____ Priority creditor’s name and mailing address                                                     0.00
                                                        As of the petition filing date, the claim is: $______________________     $_________________
      State of Florida Dept. of Agriculture and
                                                        Check all that apply.
      Consumer Services
      Division of Aquaculture
                                                            Contingent
      600 S. Calhoun St., Ste 217
                                                            Unliquidated
      Tallahassee, FL, 32399
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Notice purposes only
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                             page __    5
                                                                                                                                                     2 of ___
               NS FOA LLC      Case 23-11183-MAM                    Doc 1          Filed 02/14/23             Page 23 of 49
  Debtor       _______________________________________________________                               Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                  Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Bank of America                                                                                                               5,995.89
                                                                                                                                $________________________________
                                                                              Contingent
    PO Box 660441                                                             Unliquidated
    Dallas, TX, 75266-0441                                                    Disputed
                                                                                                   Credit Card Debt
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            2179
                                               ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Fellsmere Joint Venture LLC                                            Check all that apply.                                  Unknown
                                                                                                                                $________________________________
    c/o Richard M. Carnell, Jr., Esq.                                         Contingent
    1900 Old Dixie Highway                                                 
                                                                           ✔   Unliquidated
    Fort Pierce, FL, 34946                                                 
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Alleged breach of contract


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Helen Ming c/o Michael Tessitore, Esq.                                                                                        673,000.00
                                                                                                                                $________________________________
                                                                              Contingent
    111 N Orange Ave                                                       
                                                                           ✔   Unliquidated
    Ste 900                                                                
                                                                           ✔   Disputed
    Orlando, FL, 32801-2307
                                                                           Basis for the claim:
                                                                                                   Alleged counterclaim

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Ocean Sparkle LLC c/o Yanping Ming                                     Check all that apply.
                                                                                                                                  Unknown
                                                                                                                                $________________________________
    2900 S Harbor City Blvd                                                   Contingent
    Melbourne, FL, 32901                                                   
                                                                           ✔   Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                            Basis for the claim:
                                                                                                   Alleged counterclaim

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    PNC Bank                                                                                                                      593.68
                                                                                                                                $________________________________
                                                                           Check all that apply.
    PO Box 3429                                                               Contingent
    Pittsburgh, PA, 15230-3429                                                Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            4414
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    PNC Bank                                                                                                                      11,846.12
                                                                                                                                $________________________________
                                                                           Check all that apply.
    PO Box 3429                                                               Contingent
    Pittsburgh, PA, 15230-3429                                                Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:     Credit Card Debt

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            3520
                                               ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   page __    5
                                                                                                                                                            3 of ___
                    NS FOA LLC        Case 23-11183-MAM                  Doc 1         Filed 02/14/23            Page 24 of 49
     Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Bank of America
4.1.      P.O. Box 15019                                                                            3.1
                                                                                               Line _____
          Wilmington, DE, 19886-5019                                                                                                            ________________
                                                                                                    Not listed. Explain:


          Business Card
4.2.
          P.O. Box 15796                                                                       Line 3.1
                                                                                                    _____
          Wilmington, DE, 19886-5796                                                              Not listed. Explain                          ________________



          Civil Process Clerk                                                                       2.6
4.3.                                                                                           Line _____
          U.S. Attorney's Office for D.C.
          601D Street, NW                                                                         Not listed. Explain                          ________________
          Washington, DC, 20530
          PNC Bank
4.4.      Attn: Bankruptcy Dept.                                                                    3.5
                                                                                               Line _____
          PO Box 489909                                                                                                                         ________________
          Charlotte, NC, 28269-5329
                                                                                                  Not listed. Explain

          PNC Bank
41.       Attn: Bankruptcy Dept.                                                                    3.6
                                                                                               Line _____
          PO Box 489909                                                                                                                         ________________
          Charlotte, NC, 28269-5329
                                                                                                  Not listed. Explain

          State of Florida, Dept. of Revenue
4.5.      Bankruptcy Section
                                                                                                    2.3
                                                                                               Line _____
          PO Box 6668                                                                             Not listed. Explain                          ________________
          Tallahassee, FL, 32314-6668

          Sun AG LLC
4.6.      1900 Old Dixie Highway
                                                                                                    3.2
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________
          Fort Pierce, FL, 34946

          U.S. Attorney General                                                                     2.6
4.7.                                                                                           Line _____
          950 Pennsylvania Avenue, NW
                                                                                                  Not listed. Explain                          ________________
          Washington, DC, 20530-0001

          U.S. Attorney's Office                                                                    2.6
4.8.                                                                                           Line _____
          Attn: Civil Process Clerk
          555 Fourth Street, N.W.                                                                 Not listed. Explain                          ________________
          Washington, DC, 20530

          U.S. Department of Justice                                                                2.6
4.9.                                                                                           Line _____
          950 Pennsylvania Avenue, NW
          Washington, DC, 20530-0001                                                              Not listed. Explain                          ________________



          U.S. Securities & Exchange Commission
4.10.                                                                                          Line 2.6
                                                                                                    _____
          Office of Reorganization
          950 East Paces Ferry Road NE, Suite 900                                                 Not listed. Explain                          ________________
          Atlanta, GA, 30326-1382

4.11.     US Attorney Office
          Attn: Civil Process Clerk                                                                 2.6
                                                                                               Line _____
          500 S. Australian Ave. Ste. 400                                                                                                       ________________
          West Palm Beach, FL, 33401
                                                                                                  Not listed. Explain




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    5
                                                                                                                                                                4 of ___
               NS FOA LLC      Case 23-11183-MAM              Doc 1       Filed 02/14/23           Page 25 of 49
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    0.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       691,435.69
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          691,435.69
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __    5
                                                                                                                                                5 of ___
                               Case 23-11183-MAM                    Doc 1         Filed 02/14/23            Page 26 of 49

 Fill in this information to identify the case:

             NS FOA LLC
 Debtor name __________________________________________________________________

                                         Southern District of Florida
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Lease of 10-acre parcel [identified               Fellsmere Joint Venture LLC
         State what the contract or    as tract 2417] paid in equal                      c/o Richard M. Carnell, Jr., Esq.
 2.1     lease is for and the nature
                                       quarterly installments.
         of the debtor’s interest
                                                                                         1900 Old Dixie Highway
                                       Lessee                                            Fort Pierce, FL, 34946
         State the term remaining
         List the contract number of
         any government contract

                                       Lease of +/- 90.28-acres of multiple              Fellsmere Joint Venture LLC
         State what the contract or    tracts [identified as tracts: 2418,               c/o Richard M. Carnell, Jr., Esq.
 2.2     lease is for and the nature
         of the debtor’s interest      2419, 2420, 2421, 2422, 2423,                     1900 Old Dixie Highway
                                       2470, 2471, 2472, 2473] paid in                   Fort Pierce, FL, 34946
         State the term remaining
         List the contract number of
         any government contract

                                       Sublease of a portion of business                  Benchmark Genetics Fellsmere, US
         State what the contract or    premises.                                          15369 County Road 512
 2.3     lease is for and the nature
         of the debtor’s interest      Lessor                                             Fellsmere, FL, 32948

         State the term remaining      10 years
         List the contract number of
         any government contract

                                       Lease of Agricultural Packinghouse                 Fellsmere Joint Venture LLC
         State what the contract or
 2.4                                   with lease amount paid in equal                    c/o Richard M. Carnell, Jr., Esq.
         lease is for and the nature
         of the debtor’s interest      quarterly installments.                            1900 Old Dixie Highway
                                       Lessee                                             Fort Pierce, FL, 34946
         State the term remaining      34 months
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
                               Case 23-11183-MAM                     Doc 1        Filed 02/14/23             Page 27 of 49
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             NS FOA LLC

                                         Southern District of Florida
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1   Congwei "Allan" Xu            Congwei "Allan" Xu                                                  Mitsubishi HC America               ✔ D
                                                                                                                                             
                                     125 Sagecrest Cir                                                   Corp.                                E/F
                                     Melbourne, FL 32904                                                                                      G




 2.2                                 Congwei "Allan" Xu
                                                                                                                                              D
                                     125 Sagecrest Cir                                                                                       ✔ E/F
                                                                                                                                             
       Congwei "Allan" Xu            Melbourne, FL 32904                                                 Bank of America                      G




 2.3                                 Congwei "Allan" Xu
                                     125 Sagecrest Cir                                                                                        D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Congwei "Allan" Xu            Melbourne, FL 32904                                                  PNC Bank                            G



 2.4                                 Congwei "Allan" Xu
                                                                                                                                              D
                                     125 Sagecrest Cir                                                                                       ✔ E/F
                                                                                                                                             
       Congwei "Allan" Xu            Melbourne, FL 32904                                                 PNC Bank                             G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
                                Case 23-11183-MAM                  Doc 1          Filed 02/14/23               Page 28 of 49

 Fill in this information to identify the case and this filing:

              NS FOA LLC
 Debtor Name __________________________________________________________________

                                         Southern District of Florida
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    02/14/2023
        Executed on ______________                          /s/ Congwei "Allan" Xu
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Congwei "Allan" Xu
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Managing member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
             NS FOA LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Southern District of Florida District of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                              234,920.50
           fiscal year to filing date:           01/01/2023
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________         
                                                                                               ✔ Operating a business                       2,264,446.69
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                            1,880,615.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
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                 NS FOA LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
                                                        12/27/2022
              Bank of America
             __________________________________________ 12/01/2022            $_________________
                                                                               21,087.31                         Secured debt
             Creditor’s name
              PO Box 660441
                                                        11/28/2022                                               Unsecured loan repayments
              Dallas, TX 75266-0441                                                                              Suppliers or vendors

                                                                                                                 Services

                                                                                                            
                                                                                                            ✔            Credit Card Debt
                                                                                                                  Other _______________________________


     3.2.

              PNC Bank
                                                            11/27/2022
                                                                              $_________________
                                                                               29,516.38                         Secured debt
             __________________________________________ 11/14/2022
             Creditor’s name                                                                                     Unsecured loan repayments
              PO Box 3429
              Pittsburgh, PA 15230-3429                                                                          Suppliers or vendors

                                                                                                                 Services

                                                                                                            
                                                                                                            ✔            Credit Card Debt
                                                                                                                  Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.
             Rong Zou
             __________________________________________      _________         5,416.67
                                                                             $__________________
             Insider’s name
                                                                                                          Bi-weekly salary of $2,500
             125 Sagecrest Cir                               _________
             Melbourne, FL 32904
                                                             _________


             Relationship to debtor
              Packinghouse manager, spouse of managing member
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
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                 NS FOA LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                  Date                Value of property
     5.1.

            __________________________________________                                                                      ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                                 _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                   Date action was        Amount
                                                                                                                            taken

             __________________________________________                                                                   _______________       $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address                 Status of case
            NS FOA LLC and Congwei Xu v.                                                     Circuit Court of the Nineteenth Judicial Circuit
     7.1.   Yanping Ming a/k/a Helen Ming            Motion for Temporary Injunction         In and For Indian River County, Florida             
                                                                                                                                                 ✔   Pending

                                                                                                                                                    On appeal

             Case number                                                                     2000 16th Ave.                                         Concluded
                                                                                             Vero Beach, FL 32960
      31-2019-CA-000008
             _________________________________

             Case title                                                                       Court or agency’s name and address
            Fellsmere Joint Venture LLC v. NS                                                Circuit Court of the Nineteenth Judicial Circuit    
                                                                                                                                                 ✔   Pending
     7.2.
            FOA, LLC d/b/a Florida Shrimp                                                    In and For Indian River County, Florida                On appeal
            Company
             Case number
                                                                                                                                                    Concluded
                                                     Eviction, Temporary and Permanent2000  16th Ave.
                                                                                       Injunctive Relief, and Damages
                                                                                     Vero Beach, FL 32960
      31-2022-CA-0000733
             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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                 NS FOA LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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                NS FOA LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Wernick Law, PLLC
            __________________________________________
   11.1.                                                                                                                 02/01/2023
                                                                                                                         ______________      $_________
                                                                                                                                               35,000.00
            Address

            2255 Glades Road, Suite 324A
            Boca Raton, FL 33431




            Email or website address
            www.wernicklaw.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
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                NS FOA LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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                 NS FOA LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
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Debtor            NS FOA LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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              NS FOA LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

        No
     
     ✔   Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice

          See Attached SOFA Part 12, Question 23_____________________________________
          __________________________________                                                                                                  __________
          Name                                       Name




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                NS FOA LLC
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   NS FOA LLC
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Helen Yin                                                                                       From 01/01/2019
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               02/14/2023
              777 Scudders Mill Rd, Bldg A, Suite 101, Plainsboro, NJ 08536                                   To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Helen Yin
                    ______________________________________________________________________________
                    Name
                     777 Scudders Mill Rd, Bldg A, Suite 101, Plainsboro, NJ 08536




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                    NS FOA LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    Congwei "Allan" Xu
                     ______________________________________________________________________________
                     Name
                      125 Sagecrest Cir, Melbourne, FL 32904




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
           No
     
     ✔      Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory

              Congwei "Allan" Xu
              ______________________________________________________________________         02/01/2023
                                                                                               _______         800,000.00
                                                                                                              $___________________

               Name and address of the person who has possession of inventory records


   27.1.       Congwei "Allan" Xu
               ______________________________________________________________________
              Name
               125 Sagecrest Dr
               Melbourne, FL 32904




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                NS FOA LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Congwei Xu                                  125 Sagecrest Cir Apt 108, Melbourne, FL 32904          Managing member                         64.4


 Yanping Ming                                46 Ketley Pl, Princeton, NJ 08541                       Member                                  35.6




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
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                   NS FOA LLC
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       02/14/2023
                               _________________
                                MM / DD / YYYY



              /s/ Congwei "Allan" Xu
              ___________________________________________________________                              Congwei "Allan" Xu
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Managing member
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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               NS FOA LLC
 Debtor Name                                                                   Case number (if known)



                                       Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Fellsmere Joint Venture,           $40,636.86                               Other
c/o Richard M. Carnell,
Jr., Esq. 1900 Old Dixie
Highway, Fort Pierce, FL
34946




  Official Form 207                    Statement of Financial Affairs for Non-Individuals
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                              SOFA Part 12, Question 23 Attachment

 Site name and address   Governmental unit name        Environmental law, if     Date of notice
                         and address                   known
 Florida Shrimp          Indian River Mosquito                                   6/22/2020
 Company, 15369          Control District, 5655 41st
 County Road 512,        Street, Vero Beach, FL
 Fellsmere, FL 32948     32967
 Florida Shrimp          State of Florida,             F.S. 597.004, 597.0041,   3/15/2022
 Company, 15369          Department of Agriculture     and 570.971
 County Road 512,        and Consumer Services,        F.A.C. Rule 5L-3.004
 Fellsmere, FL 32948
 Florida Shrimp          Florida Department of         F.S. 403 and 373          5/27/2022
 Company, 15369          Environmental Protection,     F.A.C. 62-343
 County Road 512,        Southeast District Office,
 Fellsmere, FL 32948     3301 Gun Club Road, MSC
                         7210-1, West Palm Beach,
                         FL 33406
 Florida Shrimp          City of Fellsmere, Florida,   Fellsmere Land Dev.       7/22/2022
 Company, 15369          Clerk of Code Enforcement,    Code, Sec 17-21.A.1
 County Road 512,        21 South Cypress Street,      Fellsmere Code of
 Fellsmere, FL 32948     Fellsmere, Florida 32948-     Ordinances: 30-58(7, 8,
                         6714                          13, 20, and 22)
 Florida Shrimp          Florida Department of         F.S. 386.041(1)(e)        8/18/2022
 Company, 15369          Health, Office of the State
 County Road 512,        Surgeon General, 4052 Bald
 Fellsmere, FL 32948     Cypress Way, Bin A-00,
                         Tallahassee, FL 32399-1701


*All notices above relate to alleged violations with regard to saltwater discharge and mosquito
control.
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Ally Financial
P.O. Box 380902
Bloomington, MN 55438-0902


Bank of America
PO Box 660441
Dallas, TX 75266-0441


Bank of America
P.O. Box 15019
Wilmington, DE 19886-5019


Benchmark Genetics Fellsmere, US
15369 County Road 512
Fellsmere, FL 32948


Business Card
P.O. Box 15796
Wilmington, DE 19886-5796


City of Fellsmere
Clerk of Code Enforcement
21 S. Cypress St.
Fellsmere, FL 32948-1701


Civil Process Clerk
U.S. Attorney's Office for D.C.
601D Street, NW
Washington, DC 20530


Congwei "Allan" Xu
125 Sagecrest Cir
Melbourne, FL 32904


Fellsmere Joint Venture LLC
c/o Richard M. Carnell, Jr., Esq.
1900 Old Dixie Highway
Fort Pierce, FL 34946


FL Dept of EPA
Southeast District Office
3301 Gun Club Rd, MSC 7210-1
West Palm Beach, FL 33406


Florida Department of Revenue
5050 West Tennessee Street
Tallahassee, FL 32399


Ford Credit
P.O. Box 542000
Omaha, NE 68154
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Helen Ming c/o Michael Tessitore, Esq.
111 N Orange Ave
Ste 900
Orlando, FL 32801-2307


Indian River County Tax Collector
c/o Carole Jean Jordan, Tax Collector
PO Box 1509
Vero Beach, FL 32961-1509


Indian River Mosquito Control District
5655 41st St
Vero Beach, FL 32967


Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346


Mitsubishi HC America Corp.
800 Connecticut Avenue 4N
Norwalk, CT 06854


Murphy & Walker, P.L.
2001 U.S. Highway 1
Vero Beach, FL 32960


Ocean Sparkle LLC c/o Yanping Ming
2900 S Harbor City Blvd
Melbourne, FL 32901


Office of Inspector General SBA
409 3rd St., SW
Suite 7150
Washington, DC 20416-0005


PNC Bank
PO Box 3429
Pittsburgh, PA 15230-3429


PNC Bank
Attn: Bankruptcy Dept.
PO Box 489909
Charlotte, NC 28269-5329


SBA - Region IV
233 Peachtree Street NE
Suite 1800
Atlanta, GA 30303-1508


SBA Office of General Counsel
409 3rd St., SW
Washington, DC 20416-0005
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SBA South Florida District
51 SW 1st Ave #201
Miami, FL 33130-1608


Small Bus. Administration
U.S. Department Treasury Bureau of Fisca
P.O. Box 830794
Birmingham, AL 35283-0794


State of Florida Dept. of Agriculture and Con
Division of Aquaculture
600 S. Calhoun St., Ste 217
Tallahassee, FL 32399


State of Florida, Dept. of Revenue
Bankruptcy Section
PO Box 6668
Tallahassee, FL 32314-6668


Sun AG LLC
1900 Old Dixie Highway
Fort Pierce, FL 34946


U.S. Attorney General
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001


U.S. Attorney's Office
Attn: Civil Process Clerk
555 Fourth Street, N.W.
Washington, DC 20530


U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001


U.S. Securities & Exchange Commission
Office of Reorganization
950 East Paces Ferry Road NE, Suite 900
Atlanta, GA 30326-1382


U.S. Small Business Administration
2 North Street, Suite 320
Birmingham, AL 35203


U.S. Small Business Administration
Little Rock Commercial Loan Servicing
Center 2120 Riverfront Drive, Suite 100
Little Rock, AR 72202
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US Attorney Office
Attn: Civil Process Clerk
500 S. Australian Ave. Ste. 400
West Palm Beach, FL 33401


Yanping Ming
46 Ketley Pl
Princton, NJ 08541
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                             United States Bankruptcy Court
                              Southern District of Florida




         NS FOA LLC
In re:                                                         Case No.

                                                               Chapter    11
                      Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




             02/14/2023                          /s/ Congwei "Allan" Xu
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                 Managing member
                                                 Position or relationship to debtor
